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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

RAYMEY VOSS,                                                                         PLAINTIFF
#213751

v.                                    4:19CV00935-JTK

ROBERT LANIUS, et al.                                                            DEFENDANTS

                                         JUDGMENT

       Pursuant to the Memorandum and Order entered in this matter on this date, it is Considered,

Ordered, and Adjudged that Plaintiff’s Complaint is DISMISSED with prejudice.

       IT IS SO ADJUDGED this 9th day of November, 2020.




                                                    ____________________________________
                                                    JEROME T. KEARNEY
                                                    UNITED STATES MAGISTRATE JUDGE




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